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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND


SALEH FAKHOURY, #57923-037                         •
               Petitioner,
     v.                                            •      Criminal Action No. RDB- I4-0 178
                                                          Civil Action No. RDB-16-1630
UNITED STATES OF AMERICA                           •
                Respondent.
                                                 *****

                                    MEMORANDUM OPINION

          On February 3, 2015, Saleh Fakhoury was sentenced on one count of conspiracy to use fire to

commit a federal felony, in violation of 18 U.S.C.       S 844(m).   Criminal judgment was entered on

February 4,2015. See United States v. Fakhoury, Criminal No. RDB-14-0178 (D. Md.) at ECF No.

40. No appeal was filed.

          On May 25,2016, Fakhoury filed a self-represented Motion to Vacate pursuant to 28 U.S.C.

S 2255,   dated May 20,2016, raising claims of ineffective assistance of counsel which resulted in the

cancellation of the plea agreement, thus depriving him of a lesser sentence under         S 5Kl.l.   Id. at

ECF No. 56.

          On May 26,2016, the Court issued a show cause order granting the parties an opportunity to

brief the issue of timeliness.   Id. at ECF No. 57. On July 25,2016, Respondent filed a response,

arguing that the Motion to Vacate was time-barred.         Id. at ECF No. 58. On August 18,2016,

Fakhoury filed a Motion to Amend as of Course pursuant to Rule 15(a), presenting "new evidence"

which he claims was unavailable when he filed his original      S 2255   Motion, Id. at ECF No. 59.

          Fakhoury was convicted and sentenced on February 3, 2015.        As noted, he did not file an

appeal. The one-year statute oflimitations set out under 28 U.S.c.     S 2255(1)(1)   began to run on that
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 date. See United States v. Sanders, 247 F.3d 139, 142 (4th Cir. 200 I) (where no appeal taken, statute

 of limitations   begins to run on date the court entered the judgment of conviction).       Therefore,

 Fakhoury had until February 3, 2016, to file a timely Motion to Vacate. He did not do so.

        The one-year limitation period may be forgiven if a petitioner shows that "I) extraordinary

circumstances, 2) beyond his control or external to his own conduct, 3) ... prevented him from filing

on time." United States v. Sosa, 364 F.3d 507, 512 (4th Cir. 2004) (citing Rouse v. Lee, 339 F.3d

238,246 (4th Cir. 2003) (en bane». A petitioner must show some wrongful conduct by a respondent

contributed to the delay in filing, or that circumstances beyond his control caused the delay. See

Rouse, 339 F.3d at 246. "[A]ny resort to equity must be reserved for those rare instances where ... it

would be unconscionable to enforce the limitation period against the party and gross injustice would

result." Harris v. Hutchinson, 209 F.3d 325, 330 (4th Cir. 2006). Generally, the petitioner must

show that he has been diligently pursuing his rights and some extraordinary circumstance prevented

him from filing a timely petition. See Pace v. DiGuglielmo, 544 U.S. 408, 418 (2005); Rouse, 339

F.3d at 246.

        Fakhoury does not provide evidence of equitable tolling.!        Rather, he states that he has

discovered new evidence, unavailable when he originally filed his Motion on May 20, 2016. He

refers to this new evidence as a "c!ariiYing statement" which casts his role in the stated crime as that



               Fakhoury may be arguing that the one-year limitation period should be tolled as his
counsel withdrew his representation after the conviction and did not file an appeal. This contention,
however, does not set out an extraordinary circumstance which prevented Fakhoury from exercising
due diligence and timely filing his Motion to Vacate. See generally Holland v. Florida, 560 U.S.
631(2010).

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 of a "minimal participant," entitling him to a 4-level reduction pursuant to the newly amended S

381.2 of the U.S. Sentencing Guidelines Manual.2      Fakhoury claims that his eligibility for a minor

adjustment to his imposed sentence of 48 months "contradicts             the need to challenge the

Respondent's assertion that he is time-barred ... " ECF No. 59.     He seemingly contends that his S

2255 is now timely tiled under S 2255(1)(3) as he is entitled to statutory tolling of the one-year

period. The Court finds Fakhoury's argument unavailing.

        28 U.S.c. S 2255(1)(3) provides that the one-year limitation period shall run from the date on

which the right asserted was initially recognized by the Supreme Court, if that right has been newly

recognized by the Supreme Court and made retroactively applicable to cases on collateral review.

On November      I, 2015, the United States Sentencing Commission           ("Commission")     issued

Amendment 794 (the Amendment), which amended the commentary to U.S.S.G. S 3B1.2.                  The

Commission did so, finding that minor role reductions were being "applied inconsistently and more

sparingly than the Commission intended."    United States v. Quintero-Leyva, 823 F.3d 519, 521 (9th

Cir. 2016). The Amendment was made retroactive by the Commission, not the Supreme Court, and

applies retroactively only on direct appeal. /d., at 523-524. U.S.S.G. SiB 1.10 lists all Guidelines

amendments that the Sentencing Commission has made retroactively applicable to defendants on

collateral review, rather than direct appeal, and Amendment 794 is not listed in SiB 1.10 as

retroactively applicable. See United States v. Hunley, 2016 WL 4523417,'       1-2 (W. D. Va. 2016).

       Further, to the extent that Fakhoury wishes to amend his Motion to Vacate to include a

challenge to his sentence under Amendment 794, his Motion to Amend shall be denied.              The


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               Fakhoury is referring to Amendment 794.
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 amendment ofa ~ 2255 motion is governed by Rule 15 of the Federal Rules of Civil Procedure. See

 United States v. Pillman. 209 F.3d 314, 317 (4th Cir. 2000) (noting that although the Rules

 Governing Section 2255 do not address the procedure for amending motions, courts have typically

applied Federal Rule of Civil Procedure 15). A party may amend his pleading once as a matter of

course within twenty-one days after service or, ifit is a pleading requiring a response, within twenty-

one days after service of the response or service ofa motion under Rule 12(b), (e), or (t), whichever

is earlier. Fed. R. Civ. P. 15(a)( I). Otherwise, a party may amend his pleading only with the written

consent of the opposing party or by leave of court. Fed. R. Civ. P. 15(a)(2). The Fourth Circuit Court

of Appeals has held that "the standards used by a district court in ruling on a motion to amend or on

a motion to supplement are nearly identical." Franks v. Ross, 313 F.3d 184, 198 n. 15 (4th Cir.

2002). In either case, leave should be freely granted and denied only where good cause exists, such

as prejudice to the opposing party. [d. Also, leave should be denied when the amendment would be

futile.    Edwards v. City of Goldsboro, 178 F.3d 231,242 (4th Cir. 1999).

           The original Motion attacks Fakhoury's conviction on grounds of ineffective assistance of

counsel.     It is untimely and Fakhoury provides no real grounds for equitable tolling. He may not

seek to add a claim arising from a later, separate occurrence (the November 20 15 Amendment to the

USSG).

          In Slack v. McDaniel, 529 U.S. 473 (2000), the Supreme Court held that "[wjhen the district

court denies a habeas petition on procedural grounds without reaching the prisoner's underlying

constitutional claim, a Certificate of Appealability should issue when the prisoner shows, at least,

that ... jurists of reason would find it debatable whether the district court was correct in its procedural

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ruling." Slack, 529 U.S. at 484. Fakhoury does not satisfy this standard, and the Court declines to

issue a Certificate of Appealability.   The Motion to Vacate shall be dismissed. A separate Order

follows.




Date: September'~20l6                                /Ut .P.       'E.-:ItS
                                                   RICHARD D. BENNETT
                                              UNITED STATES DISTRICT JUDGE




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